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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES – GENERAL

 Case No.         2:24-cv-00365-MRA (PVCx)                                Date      April 30, 2024

 Title            John Rad et al v. Mitra Nabati et al


 Present: The Honorable           MÓNICA RAMÍREZ ALMADANI, UNITED STATES DISTRICT JUDGE

            Gabriela Garcia                               None Present                       __________
                Deputy Clerk                       Court Reporter / Recorder                  Tape No.
            Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                       None Present                                           None Present
 Proceedings:               (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR
                            LACK OF PROSECUTION

      The Court, on its own motion, hereby ORDERS plaintiff(s) to show cause in writing no later than
May 6, 2024, why this action should not be dismissed for lack of prosecution as to all Defendants.

        As an alternative to a written response by plaintiff(s), the Court will consider the filing of one of
the following on or before the above date as an appropriate response to this Order:

X        Proof of service of summons and complaint (F.R.Civ.P. 4) (however, if the deadline to file the
         Answer has already passed, plaintiff(s) must also submit a Request for Default or Stipulation
         Extending Time to Answer)

X        Notice of Voluntary Dismissal (F.R.Civ.P. 41(a))

        Absent a showing of good cause, an action shall be dismissed if the summons and complaint have
not been served upon all defendants within 90 days after the filing of the complaint. Fed. R. Civ. P. 4
(m). It is the responsibility of the plaintiff(s) to respond promptly to all Orders and to prosecute the action
diligently, including by filing mandatory proofs of service and stipulations or motions extending time to
respond. If necessary, the plaintiff(s) must also pursue remedies promptly under Federal Rule of Civil
Procedure 55 upon the default of any defendant. The Court must approve all stipulations affecting the
progress of the case. Local Rule 7-1.

       No oral argument regarding this matter will be heard unless ordered by the Court. This Order will
stand submitted upon the filing of a responsive pleading or motion on or before the date upon which a
response by the plaintiff(s) is due.

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                                                         Initials of Deputy Clerk    gga



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